                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In Re:                                        §
                                              §                Case No. 18-10554-hcm
MAUREEN L. ADAIR,                             §
                                              §                Chapter 7
         Debtors.                             §

ORDER GRANTING RETENTION OF GRAVES DOUGHERTY HEARON & MOODY,
     PC AS COUNSEL FOR THE ESTATE PURSUANT TO 11 U.S.C. §327(a)

         ON THIS DAY, the Court considered the Application For Retention of Graves

Dougherty Hearon & Moody, PC as Counsel for the Estate Pursuant to 11 U.S.C. §327(a) [Dkt.

No. __] (the “Application”), and the Court, being of the opinion that the Application is well

taken, will hereby approve same. It is, therefore,

         ORDERED, that the employment of Graves Dougherty Hearon & Moody, P.C., as

counsel for the Trustee, be, and it is hereby, approved and,

         ORDERED, that compensation will be paid upon application to this Court only after




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notice and hearing, pursuant to 11 U.S.C. §330 and the requirements of any other applicable law.

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Order Prepared by Proposed Counsel for Ch. 7 Trustee

Brian T. Cumings
SBN 24082882
Graves Dougherty Hearon & Moody, P.C.
401 Congress Ave., Suite 2700
Austin, Texas 78701
512.480.5626
512.536.9926 (Fax)
Email: bcumings@gdhm.com




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